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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION
UNITED STATES OF AMERICA           )
                                   )
v.                                 )          CR417-060
                                   )
MICHAEL HUBBARD                    )

                                 ORDER

      Defendant Michael Hubbard, along with several co-defendants, has

been charged with various crimes related to an alleged drug conspiracy.

See, e.g., doc. 203 at 1. He moves to suppress the evidence against him

on a variety of grounds. See docs. 137, 138, & 139 (three-part motion to

suppress). The government opposes. Doc. 152 (“Combined Response”);

docs. 203, 204, & 205 (respectively, responses to each part of suppression

motion).

      Defendant’s briefs cite to various warrant affidavits, Title III

applications, and other documents, but he has not favored the Court with

copies of any of the cited materials. See, docs. 137-139. The government,

on the other hand, has provided the Court (in its response to defendant’s

motions) with extensive documentary evidence spanning more than

1,000 pages, comprised primarily of the applications law enforcement

made to state and federal courts in support of their requests for various
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orders and warrants.     Those evidentiary materials are identified as

“Exhibits” in the following filed documents: docs. 203-1 to 203-8 (196

pages); docs. 204-1 to 204-17 (905 pages); doc. 205-1 (48 pages). In its

responsive briefs however, the government refers to those documents

NOT by their exhibit and page numbers, but only descriptively. For

example, on the second page of its response to defendant’s first motion to

suppress, the government refers to a certain state court order, but its

citation to that order is only this: “See, pg. 2 of attached Order, dated

April 22, 2016.” Nowhere does the government specify which attached

exhibit contains this particular order. The government continues this

practice throughout its responsive briefs (docs. 203, 204, & 205).

     So, rather than identifying the precise place in the record where a

particular referenced document can be located, the government

essentially tells the Court to “Go fish.” This is particularly problematical

as to doc. 204 (Response to Motion to Suppress Wiretaps), which has over

900 pages of attached documentation.           But, again, at least the

government furnished the Court with supporting documentation,

whereas defendant furnished no exhibits at all. (Of course there is no

need now for the defendant to replicate any document or evidentiary

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material that has already been made a part of the record through

exhibits attached to the government’s briefs.)

     The Court is particularly concerned about its inability to locate and

review two warrant applications referenced in defendant’s First Motion

to Suppress, which addresses the alleged illegal use of a “Stingray” or

cell-site simulator. Doc. 137 at 2 (referring to warrant affidavits for Red

Roof Inn and Old Richmond Road). The defendant suggests that the

documents establish the warrantless use of such technology by the

investigators in December 2016, but he never provides them, id. at 2-3,

nor has the Court has been able to locate those documents in the mass of

papers filed by the government as exhibits to its brief. The Court is

unable to prepare properly for the scheduled hearing without reviewing

documents that may be critical to its understanding of the issues

presented.

     If these documents are indeed included somewhere within the

exhibits attached to the government’s briefs, then it is requested to

identify the particular exhibit where these warrant affidavits may be

found. The sooner the better, too (i.e., within a few hours of the filing of

this order).   If the documents are not part of the record, then the

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defendant (or the government, if the parties prefer) is ORDERED to

submit the documents within 24 hours after this Order is filed.

     The Court has scheduled a hearing (currently set for next week) to

address the defendant’s various suppression motions. At that hearing,

the Court will enforce the standards set forth in United States v. Cooper,

203 F.3d 1279 (11th Cir. 2000) and United States v. Richardson, 764 F.2d

1514 (11th Cir. 1985), as well as this Court’s Local Rule of Criminal

Procedure 12.1, in determining whether there is any need for the taking

of evidence. The Court will also apply the rigorous standards set forth in

Franks v. Delaware, 438 U.S. 154 (1978), regarding the need for a

hearing on any veracity challenges to the warrant affidavits.

     SO ORDERED, this 25th day of January, 2018.




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